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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------X
  CONNECTICUT FUND FOR THE
  ENVIRONMENT, INC., d/b/a Save the Sound,
  SOUNDKEEPER, INC., PECONIC BAYKEEPER,
  GROUP FOR THE EAST END, RUTH ANN
  BRAMSON, JOHN POTTER, JOHN TURNER,

                                                             Plaintiff,   MEMORANDUM AND ORDER
                                                                            2:16-cv-3791 (DRH)(AYS)
                - against -

  UNITED STATES GENERAL SERVICE
  ADMINISTRATION, UNITED STATES
  DEPARTMENT OF HOMELAND SECURITY,
  EMILY W. MURPHY,1 in her official capacity as
  Administrator of the U.S. General Services
  Administration, KIRSTJEN M. NIELSEN,2 in her
  official capacity as Secretary of the U.S.
  Department of Homeland Security,

                                      Defendant.
  -------------------------------------------------------X

  APPEARANCES

  Morrison & Foerster LLP
  For All Plaintiffs
  250 W. 55th Street
  New York, NY 10019
  By:    David A. Manspeizer, Esq.
         Cameron A. Tepfer, Esq.
         Joshua A. Roy, Esq.
         Carl H. Loewenson, Jr., Esq.




                                                              
  1
      Substituted for Denise Turner Roth pursuant to Fed. R. Civ. P. 25(d).
  2
      Substituted for Jeh Johnson pursuant to Fed. R. Civ. P. 25(d).
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  Connecticut Fund-Environment
  For Plaintiff Connecticut Fund for the Environment, Inc.
  900 Chapel Street
  Upper Mezzanine, Suite 2202
  New Haven, CT 06510
  By:    Roger Frank Reynolds, Esq.

  United States Attorney’s Office for the Eastern District
  For Defendants
  271 Cadman Plaza East
  Brooklyn, NY 11201
  By:    Rukhsanah L. Singh, Esq.

  HURLEY, Senior District Judge:

                                         INTRODUCTION

         Plaintiffs, Connecticut Fund for the Environment, Inc., doing business as Save The

  Sound, Soundkeeper, Inc., Peconic Baykeeper, Group For The East End, Ruth Ann Bramson,

  John Potter, and John Turner (collectively “Plaintiffs”) brought this action against the United

  States General Services Administration, the United States Department of Homeland Security

  (“DHS”), Emily Murphy, in her official capacity as Administrator of the U.S. General Services

  Administration, and Kirstjen M. Nielsen, in her official capacity as Secretary of the DHS

  (collectively “Defendants”). Plaintiffs challenge Defendants’ failure to comply with the

  requirements of the National Environmental Policy Act (“NEPA”) in preparing an

  Environmental Impact Statement (“EIS”) related to Defendants’ proposed sale of Plum Island.

         Presently before the Court is Defendants’ motion to dismiss under Fed. R. Civ. P

  (“Rule”) 12(b)(1) for lack of subject matter jurisdiction. For the reasons explained below,

  Defendants’ motion is denied in its entirety.

                                          BACKGROUND

         The following relevant facts are taken from the Parties’ papers and the Complaint.



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         I.             Plum Island

                Plum Island is an 840-acre island off the coast of Southold in Long Island, New York.

  (Compl. [DE 1] ¶ 1.) Plum Island has been owned and operated by the Federal Government

  since 1826, originally as an army fort. (Id.) In 1954, Plum Island was transferred to the U.S.

  Department of Agriculture (“USDA”) to establish a research facility for foot-and-mouth disease.

  (Id. ¶ 39.) In 2003, the Island was transferred to the DHS, but USDA continues to use the Plum

  Island Animal Disease Center (“PIADC”) for research. (Id.)

                The total developed and maintained area of Plum Island consists of 170 acres, which

  includes 35 acres associated with the PIADC (including transportation facilities such as ferry

  docking and other support facilities) and 30 acres for the former Fort Terry. (Id. ¶ 40.) Access

  to Plum Island has and continues to be limited due to the nature of the research conducted at the

  PIADC. (Id. ¶ 41.) As a result of limited human interference Plum Island is a unique ecological

  resource with a largely undeveloped habitat for migratory birds, mammals, and other endangered

  species. 3 (Id.)

         Plum Island provides habitat for several federally endangered and threatened flora and fauna

  species. (Id. ¶¶ 49–56.) Among the federally-listed bird species that can be found on the Island

  are the Roseate Tern and the Piping Plover. (Id. ¶ 51.) Federally listed plant species on the

  Island include the sandplain gerardia, seabeach knotweed, seabeach amaranth, and small whorled

  pogonia. (Id. ¶ 50.) There are also federally listed marine species that have been identified in

  the waters surrounding Plum Island, including Atlantic hawksbill sea turtles, Kemp’s Ridley sea



                                                              
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   Plum Island’s unique ecological resources has been attested to by Plaintiffs and by numerous
  members of the government. For example, the four senators from New York and Connecticut
  co-sponsored a bill in August 2017 called the Plum Island Conservation Act for the purpose of
  protecting the Island as a habitat. See S. 1675, 114th Cong. (2017). 
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  turtles, Atlantic Sturgeon, and others. (Id. ¶ 53.) Additionally, several New York State

  threatened species are present on the island. (Id. ¶ 52.) Finally, Plum Island is home to the

  largest “seal haul-out area in southern New England.” (Id. ¶ 56.)

      II.      The Appropriations Act and the Subsequent Environmental Review

            On September 30, 2008, the President signed the “Consolidated Security, Disaster

  Assistance and Continuing Appropriations Act” of 2008 (the “2008 Appropriations Act”). This

  Act, among other directives, provided that

            [S]hould the Secretary of Homeland Security determine that the National Bio and
            Agro-defense Facility be located at a site other than Plum Island, New York, the
            Secretary shall liquidate the Plum Island Asset by directing the Administrator of
            General Services to sell through public sale all real and related personal property
            and transportation assets which support Plum Island operations, subject to such
            terms and conditions as necessary to protect government interests and meet
            program requirements[.]

  Pub. L. No. 110-329, § 540, 122 Stat. 3574, 3688 (2008). The proceeds from the sale of Plum

  Island and the PIADC are to be used to purchase a new site and construct the National Bio and

  Agro-defense Facility (the “Facility”). Id. This intent was again reiterated in the Consolidated

  Appropriations Act, 2012 (the “2012 Appropriations Act”), which states that:

            Notwithstanding any other provision of law during fiscal year 2012 or any
            subsequent fiscal year, if the Secretary of Homeland Security determines that the
            National Bio- and Agro-defense Facility should be located at a site other than Plum
            Island, New York, the Secretary shall ensure that the Administrator of General
            Services sells through public sale all real and related personal property and
            transportation assets which support Plum Island operations, subject to such terms
            and conditions as may be necessary to protect Government interests and meet
            program requirements.

            Pub. L. No. 112-74 § 538(a). The 2012 Appropriations Act also requires that the

  “proceeds of such sale . . . shall be deposited as offsetting collections” into a designated account

  “and, subject to appropriation shall be available . . .for site acquisition, construction, and costs

  related to the construction of the [new Facility].” Id. at § 538(b). In the time since the 2008

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  Appropriations Act, there have been several attempts to repeal the law. See, e.g, Plum Island

  Conservation Act, S. 1675, 114th Cong. (2017).

         In January 2009, the DHS made a determination that the PIADC should be closed and its

  activities moved to a new location. (Singh Decl. Ex. 3 (January 16, 2009 ROD) at 3065.) As

  such, Defendants began the environmental review process pursuant to NEPA. (Id.) In May

  2010, Defendants held the required public scoping meetings regarding the scope of the EIS.

  (Compl. ¶ 72.) Numerous governmental entities offered comments during the scoping period,

  including the U.S. Environmental Protection Agency (“EPA”), U.S. Fish and Wildlife Service

  (“FWS”), and the Connecticut Department of Energy and Environmental Protection. (Id. ¶ 73.)

  On July 20, 2012, Defendants, as joint lead agencies, issued the Draft EIS (“DEIS”). (Id. ¶ 87.)

  Defendants then held two public meetings regarding the DEIS on October 17 and 18, 2012.

  (Singh Decl. Ex. 5 (FEIS) at 1-8.) The DEIS received a total of 119 comments. (Id. at H-1.)

         On June 25, 2013, Defendants issued the Final EIS (“FEIS”). (Compl. ¶ 107.) In

  response to the FEIS, Defendants received additional comments from state and federal agencies.

  (Id. ¶¶ 111–121.) For example, the EPA sent a letter stating that the FEIS had not considered

  “an ordinance that would create a conservation area that would limit development and preserve

  much of the island” and did not “offer mitigation options as EPA recommended in our comment

  letter on the DEIS.” (Id. ¶ 116.)

         On August 29, 2013, Defendants issued a Record of Decision (“ROD”). (Id. ¶ 122.) The

  ROD states that Defendants have “proposed to transfer Plum Island, New York and its support

  facilities out of federal ownership by way of public sale. This Record of Decision (ROD)

  documents the decision to proceed with that process.” (Singh Decl. Ex. 6 (August 29, 2013

  ROD) at 1.) The conclusion to the ROD states the following:



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          Having given consideration to all of the factors discovered and analyzed during the
          NEPA process, it is the Joint Lead Agencies' decision to proceed with the Proposed
          Action. When the time frame for the DHS relocation from PIADC to NBAF [the
          Facility] in Kansas is known, the Joint Lead Agencies will re-examine the EIS
          specifically for the purpose of ensuring that it reflects the then current knowledge
          of the conditions on the property, versus those conditions that existed on the date
          of this ROD, and will supplement the EIS as necessary.

  (Id. at 5.)

          On July 7, 2016, Plaintiffs brought this action claiming that the EIS violates NEPA, the

  Appropriations Act, and the Administrative Procedure Act (“APA”). (Compl. at 1.) In their

  Complaint, Plaintiffs seek declaratory relief and ask the Court to enjoin Defendants from

  completing the environmental review process and selling Plum Island until an adequate EIS has

  been completed. (Id. ¶¶ 217–22.) Defendants filed the instant motion to dismiss for lack of

  subject matter jurisdiction on March 16, 2017.

                                        LEGAL STANDARD

          A case may properly be dismissed for lack of subject matter jurisdiction pursuant to Rule

  12(b)(1) “when the district court lacks the statutory or constitutional power to adjudicate it.”

  Makarova v. United States, 201 F.3d 110, 113 (2d Cir.2000). “In contrast to the standard for a

  motion to dismiss for failure to state a claim under Rule 12(b)(6), a ‘plaintiff asserting subject

  matter jurisdiction has the burden of proving by a preponderance of the evidence that it exists.’”

  MacPherson v. State St. Bank & Trust Co., 452 F. Supp. 2d 133, 136 (E.D.N.Y. 2006) (quoting

  Reserve Solutions Inc. v. Vernaglia, 438 F. Supp. 2d 280, 286 (S.D.N.Y. 2006)), aff'd, 273 F.

  App’x 61 (2d Cir. 2008); accord Tomaino v. United States, 2010 WL 1005896, at *1 (E.D.N.Y.

  Mar. 16, 2010). “In resolving a motion to dismiss for lack of subject matter jurisdiction, the

  Court may consider affidavits and other materials beyond the pleadings to resolve jurisdictional




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  questions.” Cunningham v. Bank of New York Mellon, N.A., 2015 WL 4101839, * 1 (E.D.N.Y.

  July 8, 2015) (citing Morrison v. Nat'l Australia Bank, Ltd., 547 F.3d 167, 170 (2d Cir. 2008)).

            A Rule 12(b)(1) motion is the proper vehicle for a claim that an issue is unripe. See

  Benincasa v. N.Y. Dep’t for Envtl. Conservation, 85 Fed. App’x 244, 245 (2d Cir. 2004); New

  York v. U.S. Army Corps of Engineers, 896 F. Supp. 2d 180, 196 (E.D.N.Y. 2012).

                                              DISCUSSION

      I.       Parties’ Contentions

            Defendants advance three arguments in support of their motion to dismiss: (1) Plaintiffs’

  claims are not constitutionally or statutorily ripe for review because Defendants have not

  concluded their review under NEPA, the Endangered Species Act (“ESA”), or the Coastal Zone

  Management Act (“CZMA”); (2) Plaintiffs fail to allege an imminent injury-in-fact; and (3) the

  Court should decline to exercise jurisdiction pursuant to the doctrine of prudential mootness.

  Plaintiffs oppose the Motion to Dismiss as to all three grounds, arguing that their claims are ripe

  for review as the FEIS and ROD constituted final agency action, that they have alleged an injury-

  in-fact, and that declining to exercise jurisdiction would be inappropriate.

            The Court addresses each of these arguments in turn, below.

      II.      NEPA

      Prior to addressing the Parties’ contentions it is useful to review the requirements under

  NEPA.

            NEPA mandates that federal agencies must consider the environmental impact of any

  major federal action “significantly affecting the quality of the human environment.” Balt. Gas &

  Elec. Co. v. Natural Resources Defense Council, Inc., 103 S.Ct. 2246, 2247 (1983). To meet this

  mandate, agencies must “take a ‘hard look’ at the environmental consequences before taking a



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  major action.” Id. To do this, federal agencies prepare an EIS “to provide full and fair

  discussion of significant environmental impacts and [to] inform decisionmakers and the public of

  the reasonable alternatives which would avoid or minimize adverse impacts or enhance the

  quality of the human environment.” Natural Resources Defense Council, Inc. v. F.A.A., 564

  F.3d 549, 556 (2d Cir. 2009) (quoting 40 C.F.R. § 1502.1). The EIS must examine: (1) the

  environmental impact of the action; (2) any adverse environmental impacts that cannot be

  avoided if the action is implemented as proposed; (3) alternatives to the proposed action; (4) the

  relationship between “local short-term uses of the environment and the maintenance and

  enhancement of long-term productivity;” and (5) any “irreversible and irretrievable commitments

  of resources that would be involved in the proposed actions should it be implemented.” Natural

  Resources Def. Council, Inc. v. U.S. Army Corps of Engineers, 399 F. Supp. 2d 386, 397–98

  (S.D.N.Y. 2005) (citing Robertson Methow Valley Citizens Council, 490 U.S. 332, 348 (1989)).

         NEPA is a “procedural statute that mandates a process rather than a particular result.”

  Stewart Park and Reserve Coalition Inc. v. Slater, 352 F.3d 545, 557 (2d Cir. 2003) (citing

  Sierra Club v. U.S. Army Corps of Eng’rs, 701 F.2d 1011, 1029 (2d Cir. 1983)). As the Second

  Circuit has explained, “NEPA does not command an agency to favor any particular course of

  action, but rather requires the agency to withhold its decision to proceed with an action until it

  has taken a ‘hard look’ at the environmental consequences.” Stewart Park, 352 F.3d at 557.; see

  also Theodore Roosevelt Conservation Partnership v. Salazar, 616 F.3d 497, 504 (D.C. Cir.

  2010) (citing Vermont Yankee Nuclear Power Corp. v. Natural Res. Def. Council, 435 U.S. 519,

  558 (1978) (“It is an ‘essentially procedural’ statute, meant to ensure ‘a fully informed and well-

  considered decision, not necessarily’ the best decision.”).




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         Under NEPA, an agency’s “discussion of ‘alternatives to the proposed action,’ 42 U.S.C.

  § 4332(2)(C)(iii), forms the heart of the environmental impact statement.” Natural Resources

  Defense Council, Inc. v. FAA, 563 F.3d at 556. In the EIS, an agency must “rigorously explore

  and objectively evaluate all reasonable alternatives, and for alternatives which were eliminated

  from detailed study, briefly discuss the reasons for their having been eliminated.” Id. (quoting

  42 U.S.C. § 1502.14(a)); see also Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 195

  (2d Cir. 1991) (“[Council on Environmental quality] regulations oblige agencies to discuss only

  alternatives that are feasible, or (much the same thing) reasonable.”). An agency satisfies its

  duty under NEPA by “[r]igorously explor[ing] and objectively evaluat[ing] all reasonable

  alternatives, and for alternatives which were eliminated from detailed study, briefly discuss[ing]

  the reasons for their having been eliminated.” 40 C.F.R. § 1502.14(a); see also Citizens Against

  Burlington, Inc. v. Busey, 938 F.2d 190, 195 (D.C.Cir.1991) (“If . . . the consideration of

  alternatives is to inform both the public and the agency decisionmaker, the discussion must be

  moored to some notion of feasibility.”) (internal quotation marks and footnote omitted).

         NEPA itself does not provide for judicial review of federal actions so plaintiffs bring

  NEPA challenges under the APA. Brodsky v. U.S. Nuclear Regulatory Comm’n, 704 F.3d 113,

  118 (2d Cir. 2013). “Pursuant to the APA, courts review contested agency action to determine if

  it is ‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.’” Id.

  (quoting 5 U.S.C. § 706(2)(A). This is a highly deferential standard, but it “does not equate to

  no review.” Brodsky, 704 F.3d at 113 (citing Wilson v. CIA, 586 F.3d 171, 185 (2d Cir. 2009).

         Having described NEPA’s requirements, the Court will now address the issues of

  ripeness, injury-in-fact, prudential mootness, and standing under the ESA and the CZMA.




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      III.      Ripeness

                A. General Principles – Legal Standard

             Article III of the U.S. Constitution requires that all cases or controversies be ripe for

  judicial review. “A claim is not ripe for adjudication if it rests upon contingent future events that

  may not occur as anticipated, or indeed may not occur at all.” Texas v. United States, 523 U.S.

  296, 300. To determine whether a case is ripe for review, a Court is generally required to

  “evaluate both the fitness of the issue for judicial decision and the hardship to the parties of

  withholding court consideration.” Abbott Labs. v. Gardner, 387 U.S. 136, 148 (1967)).

             In Ohio Forestry Ass’n, Inc. v. Sierra Club, the Supreme Court articulated a three-part

  test for determining whether an agency’s decision is ripe for judicial review. 523 U.S. 726, 737

  (1998). Specifically, a court must consider: “(1) whether delayed review would cause hardship

  to the plaintiffs; (2) whether judicial intervention would inappropriately interfere with further

  administrative action; and (3) whether the courts would benefit from further factual development

  of the issues presented.” Id. Notably, this test was laid out in the context of analyzing a

  challenge to a land resource management plan. By contrast, the Supreme Court discussed

  ripeness for NEPA purposes, explaining that forest plans are unlike EIS’s because environmental

  review under NEPA will never get riper. Id. at 727. While this language suggests that the Ohio

  Forestry test may not apply to NEPA claims, courts in the Eastern District have previously noted

  that it is difficult to believe that “the Supreme Court would intend to attempt to abrogate its

  prudential ripeness case law as to NEPA claims in a few sentences of dicta.” New York v. U.S.

  Army Corps of Engineers, 896 F. Supp. 2d at 196.

             On the other hand, in Ohio Forestry the Supreme Court stated that “a person with

  standing who is injured by a failure to comply with the NEPA procedure may complain of that



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  failure at the time the failure takes place, for the claim can never get riper.” Ohio Forestry, 523

  U.S. at 737. Moreover, other courts in the Second Circuit have held that “where the allegation is

  that an agency’s final NEPA documentation fails to comply with NEPA procedure, there is no

  doubt that the agency’s determination is ripe for judicial review.” Natural Resources Defense

  Council, Inc. V. U.S. Army Corp of Engineers, 457 F. Supp. 2d 198, 216 (S.D.N.Y. 2006) (citing

  Greene County Planning Bd. V. Federal Power Comm’n., 490 F.2d 256, 258 (2d Cir. 1973)

  (rejecting as not yet ripe a challenge to an EIS that had not been finalized by the lead agency’s

  order)).

         Defendants and Plaintiffs disagree over whether the Ohio Forestry test applies to a NEPA

  claim. Defendants contend that the test does apply, and that Plaintiffs’ claims should be

  dismissed as unripe under each of the test’s three elements. (Mem. in Supp. at 25.) Plaintiffs

  argue that the test does not apply to procedural harms under NEPA, but that even under Ohio

  Forestry test their claims are ripe for review. (Mem. in Opp. at 14 n. 3.) This Court declines to

  resolve the apparent confusion regarding whether the Ohio Forestry test controls or if final

  NEPA documentation is ripe for judicial review by its very nature. Rather, the Court assumes

  the Ohio Forestry factors apply, and finds that Plaintiffs’ claims are ripe.

             B. The Motion to Dismiss on Ripeness Grounds is Denied

         Defendants claim that the Court lacks subject matter jurisdiction because there has been

  no finality to Defendants’ action as they “have not concluded their review, and any potential sale

  is years away and subject to multiple conditions precedent.” (Mem. in Support [DE 33] at 2–3.)

  Plaintiffs counter that Defendants violated NEPA in numerous ways and that “[e]ach and every

  one of these well-pleaded violations occurred the moment that Defendants issued their flawed

  FEIS and ROD.” (Mem. in Opp. [DE 34] at 17.)



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         Under the first Ohio Forestry factor, withholding consideration at this time could cause

  significant hardship to Plaintiffs as they may not have another opportunity to seek appropriately

  robust environmental review. For example, Defendants cannot point to any specific section of

  the ROD or FEIS where they have committed to undertaking further review of alternatives.

  Even if Defendants do supplement their environmental review in the future, they have stated that

  they will do so to “ensure that [their review] reflects the then current knowledge of the

  conditions on the property, versus those conditions that existed on the date of this ROD[.]”

  (Singh Decl. Ex. 6 (August 29, 2013 ROD) at 5.) The FEIS echoes this language by stating that:

         [T]he Joint Lead Agencies may have to supplement the EIS when the timing of the
         sale becomes clearer . . . [at which time] the Joint Lead Agencies will be able to re-
         examine what further work should be done to bring it up to date to ensure that the
         federal government meets its responsibilities[.]

  (Singh Decl. Ex. 5 (FEIS) at ES-12, 2-1) (emphasis added).) Neither of these statements, nor

  anything else in the record, indicate that Defendants will conduct further analysis of alternatives,

  and the alternatives analysis is at the heart of NEPA review.

         Furthermore, Defendants issued a ROD setting forth their decision to proceed with a

  public sale of the entirety of Plum Island even though they concede that supplemental review

  will be required. The ROD does not state that Defendants will review their decision to proceed

  with the sale based on the results of that supplemental review, which suggests that any future

  review will be limited in scope and that the decision to sell may be a fait accompli. Withholding

  consideration could harm Plaintiffs through the ramifications of Defendants’ alleged failure to

  conduct appropriately thorough environmental review, which does not appear likely to be

  remedied by supplemental environmental review of changed conditions on the property.

  Therefore, the first element is met.




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         Under the second Ohio Forestry factor, there is no reason for the Court to believe that

  judicial intervention would inappropriately interfere with further administrative action. As

  discussed directly above, the FEIS and ROD are final environmental documents and there is little

  likelihood based on the facts presented that the limited scope of proposed future environmental

  review will overcome all of the alleged shortcomings of the FEIS. Additionally, even if

  Defendants were to undertake supplemental review at some uncertain time in the future, an

  interim robust analysis of alternatives, for example, would have no negative impact on the future

  environmental review.

         Under the final Ohio Forestry factor, there is nothing in the record to suggest that there

  would be a benefit to awaiting further factual development of the issues presented. Defendants

  have issued an FEIS and a ROD setting out their decision. Based on the language in these

  documents quoted above, it does not seem that any supplemental environmental review prior to

  the sale of Plum Island will be sufficiently robust or include additional analysis of alternatives.

  Notably, Defendants never state in their moving papers that they will consider additional

  alternatives at any time in the future. Rather, they state that “the ROD at issue here does not

  expressly exclude the option of revisiting the alternatives considered[.]” (Reply Mem. in Further

  Supp. [DE 35] at 8.) This language does not establish any kind of commitment, or even

  likelihood, that Defendants will revisit the alternatives section or review alternatives they have

  not yet considered. Therefore, the Court sees no reason to wait for further factual development.

         As such, Plaintiffs meet the Ohio Forestry test for ripeness. However, even if they had

  not met this test, there is sufficient logic to the dicta in Ohio Forestry stating that a NEPA claim

  can never be riper than at the time of the procedural failure. Defendants expended a significant

  amount of ink trying to distinguish an FEIS from a final agency decision for purposes of judicial



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  review. However, this Court is not convinced by the hair-splitting. In the case Defendants cite,

  the Second Circuit found that a challenge to a draft EIS—for which an FEIS had been prepared

  and made available but for which there was no ROD—was not ripe. Greene, 490 F.2d at 258.

  Here, Defendants have issued an FEIS and a ROD. The ROD repeatedly sets out Defendants’

  decision to proceed with the sale of Plum Island, irrespective of the result of future

  environmental review. The ROD’s mentions of supplemental environmental review at some

  unknown future date does not negate the finality of these agency actions.

            For all of these reasons, Defendants’ motion to dismiss on the basis that Plaintiffs’ claims

  are not ripe for review is rejected as unconvincing.

      IV.      Injury-in-Fact

               A. General Principles – Legal Standard

            Article III of the Constitution requires that a plaintiff demonstrate that he has standing to

  bring an action by showing that there is: “1) an injury-in-fact, that is an actual or imminent, and

  concrete and particularized, invasion of some legally protect[ed] interest of the plaintiffs; 2) a

  fairly traceable causal connection between the actions of the defendants and the injury-in-fact;

  and 3) a likelihood that a favorable decision will redress plaintiffs complained-of injury.” New

  York v. U.S. Army Corp of Engineers, 896 F. Supp. 2d at 189 (citing Lujan v. Defenders of

  Wildlife, 504 U.S. at 560–61). A plaintiff can demonstrate standing to enforce a procedural right,

  such as under NEPA, “without meeting all the normal standards for redressability and

  immediacy.” Id. In the NEPA context, plaintiffs can demonstrate standing by showing that they

  use and intend to continue to use the environment in question for “fishing, camping, swimming,

  and bird watching[.]” New York v. U.S. Army Corp of Engineers, 896 F. Supp. 2d at 189 (citing

  Friends of the Earth, Inc. v. Laidlaw Envt’l Svcs., 528 U.S. 167, 181–84 (2000)).



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         The Supreme Court has acknowledged that “the desire to use or observe an animal

  species, even for purely esthetic purposes, is undeniably a cognizable interest for purposes of

  standing.” Lujan v. Defenders of Wildlife, 504 U.S. at 563–63 (citing Sierra Club v. Morton, 405

  U.S. 727, 734 (1972)). However, the injury-in-fact test “requires more than an injury to a

  cognizable interest. It requires that the party seeking review be himself among the injured.” Id.

  In NEPA cases, plaintiffs usually demonstrate that they are “among the injured” by submitting

  affidavits testifying to their use of the environment at issue. This requirement is fairly stringent;

  for example, the Supreme Court has previously held that plaintiffs lacked standing when their

  affidavits only alleged that they used land in the “vicinity” of the specific tract of land at issue.

  See Lujan v. National Wildlife Federation, 497 U.S. 871, 903 (1990).

         An association has standing to sue on behalf of one or more of its members if the

  members “would otherwise have standing to sue on their own right, the interests at stake are

  germane to the organization’s purpose, and . . . the claim asserted [does not] require[] the

  participation of individual members in the lawsuit.” Friends of the Earth, Inc., 528 U.S. at 181.

             B. The Motion to Dismiss for Lack of an Injury-in-Fact is Denied

         Defendants argue that Plaintiffs lack standing to assert their claims because there is no

  imminent injury-in-fact as Defendants “have not determined the exact method of public sale, nor

  do they know who will purchase the property or if that purchase will limit any one’s access to

  Plum Island and the Orient Point Facility.” (Mem. in Support at 30.) Defendants also state that

  Plaintiffs lack standing because a “favorable judicial decision here will not ‘prevent or redress’

  the [alleged] injury.’” (Id. at 31 (quoting Summers v. Earth Island Inst., 555 U.S. 488, 493

  (2009).) Finally, Defendants note that Plaintiffs do not have an ongoing right of access to Plum

  Island and that “Plum Island is not a public property held in trust for the people pursuant to the



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  Federal Land Policy and Management Act of 1976.” (Mem. in Opp. at 31.) While Defendants

  do not specifically argue that this lack of public access undermines Plaintiffs’ standing, they do

  state that any admittance to Plum Island has been solely at the discretion of the DHS. (Id.)

                Plaintiffs respond that they have the required connection to the area of concern because

  each Plaintiff and their members “live, work, and recreate in the communities and waters

  surrounding Plum Island.” (Mem. in Opp. at 27 (quoting Ocean Advocates v. U.S. Army Corp of

  Engineers, 402 F.3d 846, 859–60).) Plaintiffs claim that they or their members sail, boat, bird-

  watch, marine-life watch, and otherwise study and enjoy the environment on and around Plum

  Island. (Mem. in Opp. at 28.) For example, Plaintiff Ruth Ann Bramson organizes community

  tours of the Island, during which she and her tour groups “observe and appreciate the wildlife

  and woodlands of Plum Island.” (Compl. ¶ 16.) Likewise, Plaintiff John Potter “spends a

  significant amount of time fishing in the waters surrounding Plum Island,” and Plaintiff John

  Turner birds and “enjoys observing the hundreds of harbor and gray seals” on the Island. (Id. ¶¶

  17–18.) Ms. Bramson, Mr. Potter, and Mr. Turner are all members of Plaintiff Save the Sound.

  (Id. ¶¶ 16–18.)

                As explained above, a plaintiff can demonstrate standing to enforce a procedural right

  under NEPA “without meeting all the normal standards for redressability[4] and immediacy” and

  by showing that they use and intend to continue to use the environment in question for “fishing,

  camping, swimming, and bird watching[.]” New York v. U.S. Army Corp of Engineers, 896 F.

  Supp. 2d at 189 (citing Friends of the Earth, 528 U.S. at 181–84). For purposes of this motion to



                                                              
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    Even if Plaintiffs were required to demonstrate redressability they would meet that burden.
  Plaintiffs are claiming a procedural injury insomuch as Defendants failed to conduct appropriate
  environmental review under NEPA. A favorable judicial decision would redress the injury by
  requiring Defendants to conduct such review.
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  dismiss, Plaintiffs have met that burden by alleging that their members have used and will

  continue to use the Plum Island environment for bird-watching, animal-watching, etc. The

  prospect of injury to Plaintiffs’ direct aesthetic and recreational interests in the Plum Island

  environment is sufficient to plead an injury-in-fact under NEPA. The fact that Plaintiffs have no

  ongoing right to access Plum Island does not impede their ability to bird-watch or animal-watch

  on the Island, to boat along the coast of the Island, to fish in the Island’s waters, to enjoy the

  scenic vista of the Island from the land or surrounding sea, or to traverse the Island itself with

  permission for the foregoing purposes as Plaintiff Bramson has done numerous times.

           Finally, it is inconsequential that Defendants “have not yet determined the exact method

  of public sale” or that “Plaintiffs are free to purchase the property, if it is publicly sold.” (Mem.

  in Opp. at 30.) Plaintiffs are seeking to enforce a procedural right, namely, the requisite

  thorough environmental review under NEPA. Thus, the injury-in-fact does not stem from how

  Defendants will sell the Island or who buys the Island, but rather from Defendants’ alleged

  failure to comply with the proper procedure. Such alleged injury occurred at the time the FEIS

  and ROD were issued. The proposed future environmental review is unlikely to remedy this

  injury because Defendants, by their own language, have only made the commitment to

  supplement the FEIS and ROD as is necessary to update the documents to reflect the then-

  current environmental conditions. Therefore, Defendants’ motion to dismiss for failure to allege

  an imminent injury-in-fact is denied.

      V.      Prudential Mootness

           Defendants’ final argument is that even if the Court finds that it has subject matter

  jurisdiction over Plaintiffs’ claims, the Court should decline to exercise its jurisdiction pursuant




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  to the doctrine of prudential mootness “to permit the agencies the opportunity to conclude their

  administrative process under NEPA, the ESA, and the CZMA.” (Mem. in Support at 32.)

         The “‘[p]rudential mootness doctrine often makes it appearance in cases where a plaintiff

  starts off with a vital complaint but then a coordinate branch of government steps in to promise

  the relief she seeks.’” Kurtz v. Kimberly-Clark Corporation, 321 F.R.D. 482 (E.D.N.Y. 2017)

  (quoting Winzler v. Toyota Motor Sales U.S.A., Inc., 681 F.3d 1208, 1210 (10th Cir. 2012)).

  Here, no other branch of government can step in to promise Plaintiffs the relief they seek by way

  of the requisite environmental review under NEPA because Defendants are the lead agencies.

  Thus, the Court is not swayed that it would be appropriate to invoke the prudential mootness

  doctrine here.

         Moreover, the single case that Defendants cite in which a district court dismissed NEPA

  claims under this doctrine is easily distinguished. In Los Alamos Study Grp. v. U.S. Dep’t of

  Energy, the lead agencies were in the process of supplementing their EIS with a Supplemental

  EIS (“SEIS”) that would supersede the original EIS being challenged. 794 F. Supp. 2d 1216,

  1222–23 (D.N.M. 2011), aff’d, 692 F.3d 1057 (10th Cir. 2012). It easy to understand in that

  situation why the Court exercised its discretion to find that plaintiffs’ standing to challenge the

  soon-to-be superseded EIS was prudentially moot. That is not the case here, where Defendants

  have issued a ROD setting out their decision and are not in the process of conducting

  supplemental environmental review or issuing an SEIS that will supersede the FEIS. The ROD’s

  references to future environmental review at the time of the sale/transfer of Plum Island does not

  render the current FEIS and ROD interlocutory. In fact, there is no indication whatsoever that

  any future environmental review would supersede the allegedly insufficient sections of the




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  current FEIS. Therefore, the Court rejects Defendants’ request that it decline to exercise

  jurisdiction pursuant to the doctrine of prudential mootness.

      VI.      ESA and CZMA

            As a final note, the Court acknowledges Defendants’ argument that Plaintiffs also lack

  standing to bring claims under the ESA and the CZMA. In reviewing the Complaint, none of the

  eight causes of action allege a violation of the ESA independent of NEPA, the Appropriations

  Act, and/or the APA. While the seventh cause of action does allege a violation of NEPA, the

  APA, and the CZMA for failure to perform a consistency determination, Plaintiffs then go on to

  specify that NEPA expressly incorporates this requirement. (Complaint at ¶ 194; see also Mem.

  in Opp at 21 n.6.) Plaintiffs also clarified in a letter to the Court dated October 27, 2016, that

  they “do not allege a stand-alone violation of the CZMA.” (See Mem. in Support at 13 n. 7

  (citing Oct. 27, 2016 Letter in Response to Defendants’ Letter at 3.) Therefore, there is no need

  for the Court to analyze whether it has subject matter jurisdiction over standalone claims under

  the ESA and the CZMA.

                                            CONCLUSION
            For the reasons set forth above, Defendants’ Motion to Dismiss is denied.

  SO ORDERED.

  Dated: Central Islip, New York
         January 11, 2018

                                                                          /s/                _
                                                                  Denis R. Hurley
                                                                  Unites States District Judge




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